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 5
     Attorney for Debtor and Debtor-in-Possession
 6
                                 UNITED STATES BANKRUPTCY COURT
 7
                                  NORTERN DISTRICT OF CALIFORNIA
 8

 9                                                   | Chapter 11
     In re:                                          |
10                                                   |
                                                     | Case No. 15-31519
11                                                   |
                                                     |
12   JINNIE JINHUEI CHANG CHAO                       | DEBTOR’S UPDATED STATUS
                                                     | CONFERENCE REPORT
13                                                   |
                                                     |
14                                                   | DECLARATION OF ONYINYE N. ANYAMA
                                                     | IN SUPPORT THEREOF
15   Debtor-in-Possession                            |
                                                     |
16                                                   | Date: December 13, 2019
                                                     |
17                                                   | Time: 10:30 a.m.
                                                     | Room: 17-450 Golden Gate Ave,
18                                                   | San Francisco, CA 94102
                                                     |
19

20   TO: THE HONORABLE DENNIS MONTALI, UNITED STATES BANKRUPTCY JUDGE
21
              The above-captioned debtor-in-possession, Jinnie Jinhuei Chang Chao (“Debtor”), by and
22
     through her attorney of record herein, Onyinye N. Anyama (“Debtors Counsel”) hereby respectfully
23
     files this Updated Case Status Conference Report, and sets forth the following facts therein:
24

25   INTRODUCTION/EVENTS LEADING TO BANKRUPTCY
26
                     Jinnie Jinhuei Chang Chao (the “debtor”) is an individual and resident of the state of
27
     California. Ms. Chao (real estate professional) experienced major decrease in her income. She
28



                              -DEBTOR’S UPDATED STATUS CONFERENCE REPORT-                                     1
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 1   attempted to reorganize her debt by filing Chapter 13 cases in 2015 pro se. However, the case was
 2
     dismissed since Ms. Chao represented herself and was unsophisticated in bankruptcy matters. Ms.
 3
     Chao employed Onyinye Anyama/Anyama Law Firm to file her Chapter 11 bankruptcy case to
 4
     reorganize her debt.
 5

 6
                    Virtually all of the Debtor’s assets are encumbered by holders of prior secured claims.

 7   The principal assets of the estate are the following properties currently owned by the debtor.
 8
                •   8108 Penobscot Ln. McKinney TX,
 9
                •   701 Braxton Ct. McKinney TX,
10
                •   30 Pilarcitos Ct Hillsborough CA
11

12              •   305 St Andrews Dr. Pinehurst NC

13              •   9 Maverick Pl. Pinehurst
14
                              STATUS OF BANKRUPTCY CASE
15
         On January 10, 2019, the hearing was continued for holding purposes and as a continued status
16
     conference hearing. The court further continued the hearing to June 27, 2019.
17

18
     Trial in the Criminal case is scheduled for two weeks beginning February 4, 2020.

19   Therefore, the debtor would like to request that the status conference be continued to a hearing date

20   after the trial in February 2020.
21

22
     Dated: December 11, 2019                      Anyama Law Firm
23
                                           By: /s/Onyinye N. Anyama
24
                                           Attorney for Debtor-in-Possession
25                                                 Jinnie Chang Chao

26

27

28



                              -DEBTOR’S UPDATED STATUS CONFERENCE REPORT-                                    2
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 1                            DECLARATION OF ONYINYE N. ANYAMA
 2
     I Onyinye Anyama, declare as follows:
 3      1. I am the Attorney at Law licensed to practice in the State of California and before this court. I
 4
            am the attorney for the debtor in this case, and as such I have personal knowledge of the facts
 5
            in this case.
 6
        2. This declaration is made in support of the Debtors Case Status Conference Report.
 7

 8      3. The debtor’s real properties are located at :
              • 8108 Penobscot Ln. McKinney TX,
 9            • 701 Braxton Ct. McKinney TX,
10
              • 30 Pilarcitos Ct Hillsborough CA
              • 305 St Andrews Dr. Pinehurst NC
11            • 9 Maverick Pl. Pinehurst
12
        4. On January 10, 2019, the court continued the hearing for holding purposes. The court further
13
            continued the hearing to June 27, 2019.
14
        5. At the last hearing the court further continued the hearing to December 13, 2019.
15

16
        6. On December 11, 2019, I contacted Ethan Balogh (the criminal case attorney) and he advised

17          me that trial is set to commence on February 4, 2020 and the trial is scheduled for two weeks.

18      7. I would like to request the court to continue the status conference hearing to be heard after the
19
            trial scheduled for February 4, 2020.
20
        I declare under penalty of perjury under the laws of the State of California that the foregoing is
21
     true and correct.
22

23
     Dated: December 11, 2019                        Respectfully Submitted,
24
                                                    /s/Onyinye N. Anyama
25                                                  Onyinye N. Anyama
                                                    Attorney for Debtor-in-possession
26

27

28



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